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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


D.V.D.; M.M.; E.F.D.; and O.C.G.,

             Plaintiffs,

                 v.
                                                          Civil Action No. 25-cv-10676-BEM
U.S. DEPARTMENT OF HOMELAND SECURITY;
Kristi NOEM, Secretary, U.S. Department of
Homeland Security, in her official capacity; Pamela
BONDI, U.S. Attorney General, in her official
capacity; and Antone MONIZ, Superintendent,
Plymouth County Correctional Facility, in his official
capacity,

             Defendants.



         AUTHENTICATING DECLARATION OF TRINA REALMUTO
  IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION FOR A TEMPORARY
                        RESTRAINING ORDER
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Pursuant to 28 U.S.C. § 1746, I hereby declare:

1.     I am the executive director of the National Immigration Litigation Alliance. I am one of

the counsel for Plaintiffs and class members in the above-captioned case. I submit this

declaration in support of Plaintiffs’ Emergency Motion for a Temporary Restraining Order.

2.     I have personal knowledge of the facts set forth herein, and, if called as a witness, I could

and would testify completely as set forth below.

3.     Accompanying Plaintiffs’ Motion as Exhibits A1 – A8 are true and correct copies of

media reporting regarding military flights to Libya, including a May 6, 2025 New York Times

Article entitled “Trump Administration Plans to Send Migrants to Libya on a Military Flight”; a

May 7, 2025 Reuters article entitled “Exclusive: US may soon deport migrants to Libya on

military flight, sources say”; a May 7, 2025 BBC article entitled “US may soon deport migrants

to Libya - reports”; a May 7, 2025 CNN article entitled “Trump admin moving forward with

plans to transport undocumented immigrants to Libya”; a May 7, 2025 Independent article

entitled “Trump administration plans to send migrants to Libya's ‘horrific’ detention centers”; a

May 7, 2025 The Guardian article entitled “US planning to deport migrants to Libya despite

‘hellish’ conditions - reports”; a May 7, 2025 Newsweek article entitled “Donald Trump

Planning to Send Migrants to Libya: What We Know”; and a May 6, 2025 CBS New article

entitled “Trump administration may soon deport migrants to Libya.” Exhibit A9 is a true and

correct copy of an article regarding President Trump’s upcoming travel to Saudi Arabia, an April

22, 2025 Politico article entitled “Trump to visit Saudi Arabia, Qatar and UAE in May.”

4.     Accompanying Plaintiffs’ Motion as Exhibit B is a true and correct copy of an email

exchange between Plaintiffs’ counsel and Jacqueline Dan, a Public Defender with the Orange

County, California Public Defender and Tin Thanh Nguyen, Attorney with the Law Office of Tin


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Thanh Nguyen, PLLC, indicating that “[U.S. Immigration and Customs Officers (ICE)] officers

at the South Texas Detention Facility gathered 1 Vietnamese detainee, along with 5 others

(including 1 from Laos) into a room and told them that they needed to sign a document agreeing

to be deported to Libya. When they all refused, they were each put in a separate room and cuffed

in (basically, solitary) in order to get them to sign it.” The email indicates that a Vietnamese man

threatened with removal to Libya was moved from the facility today (May 7, 2025) at 7:00 am

Eastern Time.

5.     Accompanying Plaintiffs’ Motion as Exhibit Cis a true and correct copy of an email

exchange between Plaintiffs’ counsel and attorneys at Texas RioGrande Legal Aid regarding a

Laotian man at risk of deportation to Libya or Saudi Arabia who already had been moved out of

the Pearsall Detention Center in South Texas before counsel could meet with him.

6.     Accompanying Plaintiffs’ Motion as Exhibit D is a true and correct copy of an email

exchange between Plaintiffs’ counsel and Johnny Sinodis of Van Der Hout LLP in San Francisco

regarding a Filipino client who was informed by ICE that he would be deported to Libya and

whose counsel has not been provided written notice as required by the injunction. Email

communications with ICE officers in San Antonio, Texas from Mr. Sinodis are attached to that

email exchange.

7.     Accompanying Plaintiffs’ Motion as Exhibit E is true and correct copy of an email

exchange dated May 7, 2025 between Plaintiffs’ counsel and Defendants’ counsel seeking

information about the flights to Libya and rumored flight to Saudia Arabia, expressing counsel

about compliance with this Court’s preliminary injunction, and advising of the instant motion for

a temporary restraining order.




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8.     Accompanying Plaintiffs’ Motion as Exhibit F is true and correct copy of a May 7, 2025

post to the social media platform X by user @IntelWalrus.

       I declare under penalty of perjury that the above information is true and correct to the

best of my knowledge. Executed this 7th day of May 2025 at Brookline, Massachusetts.

                                             By:     s/ Trina Realmuto
                                                     Trina Realmuto




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